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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
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    ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC, 1                                           Case No.: 23-12825 (MBK)

                                Debtor.                             Judge: Michael B. Kaplan

                          DEBTOR’S DESIGNATION OF ADDITIONAL
                      ITEMS TO BE INCLUDED IN THE RECORD ON APPEAL

                      LTL Management LLC, the debtor in the above-captioned case and the appellee,

pursuant to Rule 8009 of the Federal Rules of Bankruptcy Procedures, hereby submits its

designation of additional items to be included in the record on appeal, in connection with the



1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.
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appeal by the Official Committee of Talc Claimants (the “TCC”) to the United States District

Court for the District of New Jersey from the Order Appointing Randi S. Ellis as Legal

Representative for Future Talc Claimants [Dkt. No. 551] (the “FCR Order”), entered on May

18, 2023.

                                        Additional Items

               1.     On June 9, 2023, the TCC filed Appellant TCC’s Statement of Issues on

Appeal and Designation of Items to Be Included in the Record on Appeal as to FCR Appointment

Order [Dkt. 741], designating items to be included in the record on appeal.

               2.     LTL Management LLC hereby designates the following additional items

to be included in the record on appeal, together with all exhibits, attachments, and documents

incorporated by reference therein:

        Documents Filed in Case No. 23-12825-MBK (In re LTL Management LLC)


        Bankruptcy        Docket
                                                           Docket Description
        Docket No.       Entry Date


 1.         262          04/21/2023      Transcript regarding hearing held April 18, 2023




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Dated: June 23, 2023                  WOLLMUTH MAHER & DEUTSCH LLP

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